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                                        EXHIBIT 1

                                         Stipulation




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

In re:                                                         ) Chapter 11
                                                               )
CENTER CITY HEALTHCARE, LLC d/b/a                              ) Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et                              )
al.,1                                                          ) Jointly Administered
                                                               )
                                      Debtors.                 )

                     STIPULATION GRANTING LIMITED RELIEF
               FROM THE AUTOMATIC STAY WITH RESPECT TO CLAIMS
         ASSERTED BY YURI PALMER-MOSLEY, A MINOR, BY HER PARENTS AND
            NATURAL GUARDIANS, INDIA PALMER AND LURON BAILEY, AND
              INDIA PALMER AND LURON BAILEY, IN THEIR OWN RIGHT

               This Stipulation Granting Limited Relief from the Automatic Stay with Respect to Claims

  Asserted by Yuri Palmer-Mosley, a Minor, by her Parents and Natural Guardians, India Palmer

  and Luron Bailey, and India Palmer and Luron Bailey, in their Own Right (the “Stipulation”) is

  made and entered into as of the 8th day of September, 2020 between and among the above-

  referenced debtors and debtors-in-possession (collectively, the “Debtors”) and Yuri Palmer-

  Mosley, a Minor, by her Parents and Natural Guardians, India Palmer and Luron Bailey, and

  India Palmer and Luron Bailey, in their Own Right (collectively, “Palmer-Mosley,” and together

  with the Debtors, the “Parties”), by and through their respective duly authorized undersigned

  counsel.




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               The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
               number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
               Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
               PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
               Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
               Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
               (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
               216 North Broad Street, 4th Floor, Philadelphia, Pennsylvania 19102.



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                                                 INTRODUCTION

             WHEREAS, on June 30 and July 1, 2019 (collectively, the “Petition Date”), each of the

Debtors filed voluntary petitions for relief under chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of Delaware (the

“Court”);

             WHEREAS, the Debtors are operating their businesses and managing their affairs as

debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code;

             WHEREAS, the Debtors’ chapter 11 cases (the “Chapter 11 Cases”) have been

procedurally consolidated;

             WHEREAS, on or about April 22, 2020, Palmer-Mosley filed a complaint against

Debtors St. Christopher’s Healthcare, LLC d/b/a St. Christopher’s Hospital for Children

(“SCH”),2 Philadelphia Academic Health System, LLC and certain other non-debtors including

American Academic Health System, LLC, a non-debtor affiliate (“AAHS”), and United

Hospitals Incorporated, in the Court of Common Pleas of Philadelphia County, seeking to

recover damages arising prior to the Petition Date for personal injuries allegedly sustained by

them under theories of, inter alia, professional negligence and medical malpractice (the

“Action”);

             WHEREAS, the complaint is captioned as Yuri Palmer-Mosley, a Minor, by her Parents

and Natural Guardians, India Palmer and Luron Bailey, and India Palmer and Luron Bailey, in

their Own Right v. St. Christopher’s Healthcare, LLC, et al., Case No. 01085 (April Term 2020);




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             “St. Christopher’s Children’s Hospital” is also named as a defendant in the complaint; however, this is
             similar to SCH’s “d/b/a” name and is otherwise not the formal name of any Debtor or non-debtor entities.
             The Debtors believe that Palmer-Mosley intended to refer to Debtor SCH (for which the d/b/a is St.
             Christopher’s Hospital for Children).

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             WHEREAS, the Debtors deny any and all liability with respect to, and contest the merits

of, the Action;

             WHEREAS, Palmer-Mosley wishes to pursue potential recovery for the Action from

available insurance coverage, if any (the “Insurance Policies”), subject to the limits and terms

and conditions of such Insurance Policies; and

             WHEREAS, Palmer-Mosley seeks, and the Debtors are willing to consent to, a limited

modification of the automatic stay of section 362 of the Bankruptcy Code, subject solely to the

terms and conditions set forth herein, to allow the continued pursuit of the Action.

             NOW, THEREFORE, in consideration of the mutual promises and agreements

contained herein, the Parties hereby contract, covenant and agree, subject to Bankruptcy Court

approval as set forth herein, as follows:

                                                 STIPULATION

             1.         Each of the Recitals set forth above is incorporated herein by reference.

             2.         This Stipulation is subject to and conditioned upon the entry of a Final Order of

the Court approving this Stipulation (the “Stipulation Effective Date”). In the event that the

Stipulation Effective Date does not occur, this Stipulation shall be deemed null and void and of

no force or effect. In such event, nothing (including the Recitals) contained in this Stipulation,

any motion or certification filed seeking an order from the Court approving this Stipulation, or

any correspondence or other communications related to the negotiations, drafting or approval of

this Stipulation, shall be argued or deemed to be an admission against any Party’s interest in any

litigation by and between any parties, and the Parties shall be automatically returned to their

respective positions status quo ante. As used herein, “Final Order” means an order of the Court,

as entered on the docket in the Chapter 11 Cases, that has not been reversed, stayed, modified or



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amended and to which the time to appeal, petition for certiorari, or seek re-argument or rehearing

has expired and to which no appeal, reargument, petition for certiorari, or rehearing is pending

or, if an appeal, re-argument, certiorari, or rehearing thereof has been sought, such order has

been affirmed by the highest court to which the order was appealed or from which the re-

argument or rehearing was sought, or certiorari has been denied, and the time to take any further

appeal or to seek certiorari or further re-argument or rehearing has expired, provided, however,

that no order shall fail to be a Final Order solely because of the possibility that a motion pursuant

to Rule 60 of the Federal Rules of Civil Procedure or Rule 9024 of the Federal Rules of

Bankruptcy Procedure may be filed with respect to such order, as long as such a motion actually

has not been filed.

             3.         Upon the Stipulation Effective Date, the automatic stay shall be modified solely

(i) to permit the Action to proceed on the condition that, within five (business) days following

the Stipulation Effective Date, Palmer-Mosley shall dismiss, with prejudice, AAHS and United

Hospitals Incorporated from the Action, and (ii) to permit Palmer-Mosley to continue to pursue

coverage and a recovery under the Insurance Policies in connection with the Action; provided,

however, that, with respect to any settlement with or judgment against the Debtors in connection

with the Action, Palmer-Mosley shall be limited by, and shall look strictly and solely to, the

proceeds of the Insurance Policies, if any. Neither Palmer-Mosley nor any of their agents,

attorneys or representatives shall take any action or attempt to cause any action to be taken to

collect all or any portion of any settlement or judgment obtained on account of or in connection

with the Action from the Debtors and/or the properties and assets of any of the Debtors’ estates.




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             4.         Palmer-Mosley waives the right and ability to recover on any and all claims that

they have or may have against the Debtors or their estates arising out of, related to, or in

connection with, the Action, other than from the Insurance Policies.

             5.         Upon the Stipulation Effective Date, Palmer-Mosley shall have waived the ability

to file a proof of claim in the Chapter 11 Cases and/or seek recovery on account of any and all

other claims that they may have against the Debtors and/or their estates.

             6.         Except to the extent expressly set forth in paragraph 3 herein, the automatic stay

of section 362(a) of the Bankruptcy Code shall remain in full force and effect for all other

purposes. Nothing herein shall constitute or operate as a waiver or modification of the automatic

stay so as to permit the prosecution against any of the Debtors of any claims by any person or

entity other than Palmer-Mosley with respect to the Action, subject to the limitations set forth

herein.

             7.         The agreement by the Debtors to the modification of the automatic stay on the

terms and conditions set forth herein shall not be deemed an agreement by the Debtors to provide

assistance or to cooperate with Palmer-Mosley in any way in their efforts to pursue coverage

and/or a recovery in connection with the Action or to secure coverage and/or payment from the

Insurance Policies, if any, on any settlement or judgment arising from the Action. Palmer-

Mosley acknowledges that the Debtors, and their counsel, have not made any representations or

warranties as to whether any of the Insurance Policies provide coverage or would otherwise

provide payment related to the Action, and that any determination made by Palmer-Mosley as to

the availability of coverage or payment from the Insurance Policies is made wholly on the basis

of Palmer-Mosley’s independent investigation. Nothing in this Stipulation shall provide a basis

for or constitute a determination as to the availability or applicability of coverage or payment by



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the Insurance Policies or Palmer-Mosley’s rights or entitlement to the proceeds of such Insurance

Policies, nor shall this Stipulation be construed to be binding on the Debtors’ insurers regarding

the Insurance Policies and/or the Action.

             8.         Nothing contained herein shall be deemed an admission of liability on the part of

the Debtors with respect to the Action.

             9.         The Debtors and the claims agent are authorized to take any and all actions

necessary to effectuate this Stipulation including, without limitation, amending the claims

register in the Chapter 11 Cases to reflect the terms of this Stipulation.

             10.        This Stipulation is the entire agreement between the Debtors and Palmer-Mosley

with respect to the subject matter hereof. This Stipulation supersedes any and all agreements,

whether written or oral, that may have previously existed between the Parties with respect to the

matters set forth herein. No statements, promises, or representations have been made by any

Party to any other, or relied upon, and no consideration has been offered, promised, expected or

held out other than as expressly provided for herein.

             11.        The Parties, by and through their undersigned counsel, each represent and warrant

that the undersigned is fully authorized and empowered to execute and deliver this Stipulation on

behalf of, and to bind, each Party, as applicable, to the terms and conditions of this Stipulation.

             12.        Each of the Parties further acknowledges that it has been fully advised with

respect to its rights and obligations under this Stipulation by counsel of its own choosing. Each

of the Parties has consulted with counsel of its own choosing and has had adequate opportunity

to make whatever investigation or inquiry it deems necessary or desirable with respect to the

subject matter and terms of this Stipulation.




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             13.        In the event of any ambiguity in this Stipulation, no inferences shall be drawn

against any Party on the basis of authorship of this Stipulation.

             14.        This Stipulation shall be binding and inure to the benefit of the Parties hereto,

their successors and assigns. Including without limitation, as to the Debtors, any chapter 7 or

chapter 11 trustee, plan administrator or estate representative, and as to Palmer-Mosley, any

executors, estate administrators or representatives.

             15.        No modification, amendment or waiver of any of the terms or provisions of this

Stipulation shall bind any Party unless such modification, amendment or waiver is in writing, has

been approved by the Court, and has been executed by a duly authorized representative of the

Party against whom such modification, amendment or waiver is sought to be enforced. If any

part of this Stipulation is held to be unenforceable by any court of competent jurisdiction, the

unenforceable provision shall be deemed amended to the least extent possible to render it

enforceable and the remainder of this Stipulation shall remain in full force and effect.

             16.        This Stipulation shall be governed by and construed in accordance with the

Bankruptcy Code and, where not inconsistent, the laws of the State of Delaware, without regard

to the conflict of laws principles thereof. This Stipulation shall be binding upon and inure to the

benefit of the Parties and their respective successors, assignees, agents, attorneys and

representatives.

             17.        This Stipulation may be executed in one or more counterparts, including by

facsimile and/or electronic mail, each of which when so executed shall be deemed to be an

original, and all of which, when taken together, shall constitute one and the same Stipulation.

             18.        The Parties acknowledge and agree that the Court shall retain jurisdiction over all

disputes concerning or related to the subject matter of this Stipulation.



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             IN WITNESS WHEREOF, the Parties by and through their duly authorized respective

counsel hereby execute this Stipulation as of the date first written above, intending to be legally

bound.

SAUL EWING ARNSTEIN & LEHR LLP                             BIELLI & KLAUDER, LLC

/s/ Monique B. DiSabatino__________________                /s/ David M. Klauder__________________
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                                                           her Parents and Natural Guardians, India
                                                           Palmer and Luron Bailey, and India Palmer
                                                           and Luron Bailey, in their own right




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